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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTH DISTIRCT OF GEORGIA
                            NEWNAN DIVISION

TAHIR WHITEHEAD,               )
TOMMY FIELDS,                  )
                               )
     PLAINTIFFS,               )
                               )
v.                             )                 CIVIL ACTION NO.:
                               )                 3:14-cv-00001-TCB
TAC, INC.,                     )
                               )
     DEFENDANT.                )
______________________________ )

     JOINT MOTION FOR APPROVAL OF SETTLEMENT AND
STIPULATION OF JUDGMENT DISMISSING CASE, WITH PREJUDICE

      Plaintiffs, Tahir Whitehead (“Whitehead”) and Tommy Fields (“Fields”), and

Defendant, TAC, Inc. (“TAC”), by and through their undersigned counsel and

pursuant to Rule 41(a) of the Federal Rules of Civil Procedure, hereby move this

Court for an Order approving the Settlement Agreement (“Agreement”) reached

between the parties and entering a stipulation of judgment dismissing this case,

with prejudice.

      The parties jointly request that the Court approve this Agreement, in which

Plaintiffs have agreed to waive claims under the Fair Labor Standards Act

(“FLSA”). 29 U.S.C. § 216 et. seq. A copy of the Agreements are attached hereto

as Exhibit A. The parties seek Court approval of the Agreement. See 29 U.S.C. §
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216(c); see also Lynn’s Food Stores v. United Sates, 679 F.2d 1350, 1351 (11th Cir.

1982).

I.    BACKGROUND

      Plaintiffs brought this action alleging a violation of the FLSA and seeking

unpaid overtime compensation and liquidated damages associated with their

employment with TAC. On April 30, 2014, TAC answered the Complaint and

denied any liability or wrongdoing. In order to avoid continued costs and the

uncertainty of litigation, and to wrap-up all remaining issues, the parties have

negotiated a settlement in this matter. TAC does not admit liability, and Plaintiffs

do not admit a lack of liability. As such, and with disputed issues of fact involved,

both parties faced risks if litigation continued.

II. ARGUMENT

      A. Legal Standard

      In considering the parties’ Motion, the Court is required to “determine[ ] that

a settlement proposed by an employer and employee[ ], in a suit brought by the

employee[ ] under the FLSA, is a fair and reasonable resolution of a bona fide

dispute over an FLSA provision.” Lynn’s Food Stores, 679 F.2d at 1355. “If a

settlement in an employee FLSA suit does reflect a reasonable compromise over

issues, such as FLSA coverage or computation of back wages, that are actually in


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dispute; we allow the district court to approve the settlement in order to promote

the policy of encouraging settlement of litigation.” Id. at 1354; see also Sneed v.

Sneed’s Shipbuilding, Inc., 545 F.2d 537, 539 (5th Cir. 1977). “[T]he district court

may enter a stipulated judgment after scrutinizing the settlement for fairness.”

Lynn’s Food Stores, 679 F.2d at 1353 (citing D.A. Schulte, Inc. v. Gangi, 328 U.S.

108, 113 n.8 (1946)).

      When considering a motion to approve an FLSA settlement agreement,

courts weigh a number of factors, including: “(1) the existence of fraud or

collusion behind the settlement: (2) the complexity, expense, and likely duration of

the litigation; (3) the stage of the proceedings and the amount of discovery

completed; (4) the probability of plaintiff's success on the merits; (5) the range of

possible recovery; and (6) the opinions of the counsel.” Dail v. George A. Arab

Inc., 391 F. Supp. 2d 1142, 1145-46 (M.D. Fla. 2005) (citing Leverso v. Lieberman,

18 F.3d 1527, 1531 n.6 (11th Cir. 1994). In weighing these factors, “the Court

should keep in mind the ‘strong presumption’ in favor of finding a settlement fair.”

Id. at 1146 (citing Cotton v. Hinton, 559 F.2d 1326, 1331 (5th Cir. 1977)).




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B. The Parties’ Settlement Agreement Should Be Approved

      1.     The FLSA Settlement Amount

      As explained above, Plaintiffs allege they were not paid for overtime hours

worked as required by the FLSA. TAC maintains that Plaintiffs and other similarly

situated employees were properly compensated pursuant to the FLSA.

      There is no evidence of fraud or collusion in the settlement. As a result of

the settlement, Whitehead will receive: (a) $3,000 in alleged backpay; (b) $3,000

in alleged liquidated damages; and (c) $5,500 in attorney fees for a total settlement

amount of $11,500 payable to Whitehead.           Fields will receive: (a) $1,000 in

alleged backpay; (b) $1,000 in alleged liquidated damages; and (c) $1,500 in

attorneys fees for a total settlement amount of $3,500.           Such payments are

proportionate to the hours worked and the length of time worked for TAC. Thus,

there is very little, if any, incentive for Plaintiffs to proceed to trial in this case,

especially in light of the risks associated with trial and the defenses being asserted

by TAC. Analysis of “the amount of the settlement in relation to the potential

recovery” weighs heavily in favor of the Court approving the settlement.

      Counsel for both parties are experienced attorneys who practice in this area

of law, and they represent that this settlement is a fair and reasonable compromise

of Plaintiffs’ claims in this case. Although Plaintiffs’ and their counsel believe the


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claims asserted in this case have merit, they recognize and acknowledge the

expense and length of continued proceedings necessary to prosecute the litigation

against TAC through trial and, if they were successful, through possible appeals.

In addition, Plaintiffs and their counsel also recognize and acknowledge the

uncertain outcome and risk of any litigation, the difficulties and delays inherent in

such litigation, and the likelihood of protracted appellate review.             As a

consequence, Plaintiffs’ counsel believes that the settlement reached confers

benefit upon Plaintiffs commensurate to the risk of litigation, and that the

settlement is fair, reasonable, adequate, in accordance with the law, and in the best

interest of Plaintiffs.

       Similarly, although TAC and its counsel believe the claims asserted in this

action lack merit and that TAC acted in good faith, it nonetheless believes that

further litigation with respect to Plaintiffs would be protracted, expensive, and

contrary to TAC’s best interests.

       Both parties further agree that the legal fees awarded to Plaintiff’s attorneys

in the Agreement are fair and reasonable. “The FLSA requires judicial review of

the reasonableness of counsel’s legal fees to assure both that counsel is

compensated adequately and that no conflict of interest taints the amount the




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wrong employee recovers under a settlement agreement.” Silva v. Miller, 307 F.

App’x 349, 351 (11th Cir. 2009).

         In calculating an award of attorney fees the Court must use the lodestar

method and determine the number of hours reasonably expended on a case

multiplied by a reasonable hourly rate.         See Zegers v. Countrywide Mortg.

Ventures, LLC, 569 F. Supp. 2d 1259, 1264 (M.D. Fla. 2008). The Agreement

provides that TAC will pay to Plaintiffs’ counsel $7,000 for attorney fees and

litigation expenses related to his FLSA claim.         Such amount was agreed to

separately and without regard to the amount settled upon for Plaintiff’s FLSA

claim.     Counsel avers there is no reason to believe Plaintiff’s recovery was

adversely affected by the amount of attorney fees agreed upon by the parties and

the proposed award of attorney fees and costs in this case is more than fair and

reasonable.

                                          2.

                      The General Release Settlement Amount

         The parties have separately negotiated and agreed upon a mutual release of

claims against one another. As separately set forth in the Settlement Agreement,

TAC has agreed to pay Whitehead the gross amount of $3,500 for a general release

and Fields $500 for a general release.         While this portion of the Settlement


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Agreement does not require Court approval, the parties wanted the Court to have a

complete understanding of the settlement that has been reached.

                                         III.

                                 CONCLUSION

      For the reasons set forth above, the parties respectfully request that this

Court approve the Settlement Agreement in this matter, which was reached at

arms-length and has been voluntarily executed by both parties. The parties further

respectfully request that, should the Court approve the Settlement Agreement, it

also enter an order in the form of the Agreed Order attached hereto as Exhibit B,

dismissing this action with prejudice.

      Respectfully submitted this 28th day of July, 2014.

ATTORNEYS FOR PLAINTIFFS                        ATTORNEY FOR DEFENDANT

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v.                             )                    CIVIL ACTION NO.:
                               )                    3:14-cv-00001-TCB
TAC, INC.,                     )
                               )                    JURY TRIAL REQUESTED
     DEFENDANT.                )
______________________________ )

                         CERTIFICATE OF SERVICE

       THE UNDERSIGNED counsel for Plaintiff hereby certifies that this day he
caused the foregoing JOINT MOTION FOR APPROVAL OF SETTLEMENT
AND STIPULATION OF JUDGMENT DISMISSING CASE, WITH PREJUDICE
to be electronically filed with the Clerk of Court using the CM/ECF system, which
will automatically send an electronic mail notification of such filling sufficient to
constitute service to counsel of record:



Frank DeMelfi, Esq.                          John Lansing Kimmey , III, Esq.
DeMelfi Law Group, LLC.                      Joseph Craig Murphy, Esq.
                                             Kimmey, Murphy & Horsley, P.C.




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      Respectfully submitted, this 28th day of July, 2014.


                                      The Vaughn Law Firm, LLC

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